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                                       UNITED STATES DISTRICT COURT
                                                 DISTRICT OF NEW JERSEY
                                                        (973) 776-7700
                 CHAMBERS OF                                                                     U.S. COURTHOUSE
          JAMES B. CLARK, III                                                                    50 WALNUT STREET, ROOM 2060
                                                                                                 NEWARK, NJ 07102
   UNITED STATES MAGISTRATE JUDGE



                                                      September 30, 2021


                                                       LETTER ORDER


          Re:      Williams v. Radius Global Solutions LLC
                   Civil Action No. 21-10954 (BRM)


          Dear Counsel:

          As discussed during the conference held in this matter earlier today, the Court will conduct a

settlement conference with the parties on November 23, 2021 at 2:00 PM.1 All counsel and clients

with full settlement authority shall participate in the conference. No written submissions are necessary.



          IT IS SO ORDERED.


                                                                      s/ James B. Clark, III
                                                                    JAMES B. CLARK, III
                                                                    United States Magistrate Judge




   1
       Defendant’s request to file a motion for judgment on the pleadings [Dkt. No. 7] is denied without prejudice.
